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 1   NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
     State Bar #CA 117234
 2   WILLIAM B. COSSITT, #3484
     Office of the United States trustee
 3
     300 Booth Street, Room 3009
 4   Reno NV 89509
     Telephone: (775) 784-5335
 5   Fax: (775) 784-5531
 6   Attorneys for United States Trustee
 7   Tracy Hope Davis

 8                             UNITED STATES BANKRUPTCY COURT

 9                                          DISTRICT OF NEVADA
10   In re:                                       )        Case no: BK-N-14-50331-btb
11                                                )        Chapter: 11
                                                  )
12   AT EMERALD, LLC.                             )        NOTICE OF HEARING ON
                                                  )        U.S. TRUSTEE’S MOTION TO
13                                                )        DESIGNATE CASE AS SMALL
                                                  )        BUSINESS CASE
14                                                )
15                                                )
                                                  )        Hearing Date: July 30, 2014
16                            Debtors              )       Hearing Time: 10:00 a.m.
                                                           Est. Time: 15 minutes
17
     To: Debtors; and Parties in Interest
18

19            NOTICE IS HEREBY GIVEN that MOTION TO DESIGNATE CASE AS SMALL

20   BUSINESS CASE was filed on April 30, 2014 by the United States Trustee. The Motion seeks

21   the following relief: that the Debtor’s case be designated a small business case. Any Opposition,
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     Response, or Reply must be filed pursuant to Local Rule 9014(d).
23
     /////
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     /////
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 1             NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief
 2   sought in the Motion, or if you want the court to consider your views on the Motion, then you
 3
     must file an opposition with the court, and serve a copy on the person making the Motion no
 4
     later than 14 days preceding the hearing date of this Motion, unless an exception applies (see
 5
     Local Rule 9014(d)(3)). The opposition must state your position, set forth all relevant facts and
 6

 7   legal authority, and be supported by affidavits or declarations that conform to Local Rule

 8   9014(c).

 9
     If you object to the relief requested, you must file a WRITTEN response to this pleading
10
     with the court. You must also serve your written response on the person who sent you this
11

12   notice.

13   If you do not file a written response with the court, or if you do not serve your written

14   response on the person who sent you this notice, then:
15
     •         The court may refuse to allow you to speak at the scheduled hearing and;
16
     •         The court may rule against you without formally calling the matter at the hearing.
17

18             NOTICE IS FURTHER GIVEN that the hearing on the said Motion will be held before
19
     a United States Bankruptcy Judge, in the Clifton Young Federal Building, 300 Booth Street,
20
     Bankruptcy Courtroom #2, 5th Floor, Reno, Nevada, on July 30, 2014 at the time of 10:00 a.m.
21

22

23             DATE: April 30, 2014.

24                                                          /s/ NICHOLAS STROZZA
                                                            Attorney for the U.S. Trustee
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 1                                    CERTIFICATE OF SERVICE
 2   1.   On April 30, 2014, I served the foregoing NOTICE OF HEARING ON US TRUSTEE’S
     MOTION TO DESIGNATE CASE AS SMALL BUSINESS CASE
 3

 4   2.     I served the above-named document ( by the following means to the persons as listed
     below:
 5
     ☑      a. ECF System:
 6

 7   TIMOTHY A LUKAS ecflukast@hollandhart.com
     ALAN R SMITH mail@asmithlaw.com
 8   U.S. TRUSTEE - RN - 11 USTPRegion17.RE.ECF@usdoj.gov

 9   ☑      b. U.S. Mail, postage fully prepaid:
10
     AT EMERALD, LLC
11   7725 PEAVINE PEAK COURT
     RENO, NV 89523
12

13

14   I declare under penalty of perjury that the foregoing is true and correct.

15          Signed: April 30, 2014.

16          /s/ Robbin Little
            ROBBIN LITTLE
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